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                      UNITED STATES DISTRICT COURT
                                                for the
                                         District of Vermont



United States of America

            v.                                                 Crim. No.




                                CRIMINAL PRETRIAL ORDER


I.     NOTICE TO ALL COUNSEL

       Counsel for the defendant is directed to file a notice of appearance with the Clerk of the
       Court stating his/her mailing address and telephone number.

II.    DISCOVERY

       A.        Discovery from Government. Within 14 days of arraignment, or on a date
                 otherwise set by the Court for good cause shown, the government shall make
                 available to the defendant for inspection and copying the following:

                 1.     Fed. R. Crim. P. 16(a) and Fed. R Crim. P. 12(b)(4) Information. All
                        discoverable information within the scope of Rule 16(a) of the Federal
                        Rules of Criminal Procedure, and a notice pursuant to Fed. R. Crim. P.
                        l2(b)(4) of the government’s intent to use this evidence, in order to afford
                        the defendant an opportunity to file motions to suppress evidence.

                 2.     Brady Material. All information and material known to the government
                        which may be favorable to the defendant on the issues of guilt or
                        punishment, within the scope of Brady v. Maryland, 373 U.S. 83 (1963).

                 3.     Names and Addresses of Witnesses. A list of the names and address of all
                        witnesses the government intends to call in its case-in-chief at trial. If the
                        government has substantial concerns about witness safety or intimidation,
                        it may withhold the names and addresses of those witnesses about whom it
                        has substantial concerns. In the event names and/or addresses are
                        withheld, the government must provide the defense with notice of the
                        number of witnesses’ names and/or addresses that are so withheld.
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       4.     Search Warrant Documents and Things. All warrants, applications with
              supporting affidavits, testimony under oath, returns and inventories for
              search and/or seizure of the defendant’s person, property, or items with
              respect to which the defendant may have standing to move to suppress.

       5.     Electronic Surveillance Documents and Things. Notice of any electronic
              surveillance conducted pursuant to 18 U.S.C. Chapter 119 that the
              defendant may have standing to move to suppress; all authorizations,
              applications, orders, returns, inventories, logs, transcripts, and recordings
              obtained pursuant to such surveillance.

B.     Discovery from Defendant. Unless a defendant, in writing within five days of
       arraignment, affirmatively refuses discoverable materials under Fed. R. Crim. P.
       16(a)(l)(C), (D), or (E), the defendant, within 21 days of arraignment, shall make
       available to the government all discoverable information within the scope of Fed.
       R. Crim. P. 16(b). The defendant shall also make available to the government the
       names, addresses, and dates of birth of all witnesses it plans to call in its case-in-
       chief.

C.     Notice Required of Defendant. Within 21 days of arraignment, the defendant
       shall provide written notice as required pursuant to Rules 12.1, 12.2, and 12.3.

D.     Government Pretrial Disclosures. Not less than 14 days prior to the start of jury
       selection, or on a date otherwise set by the Court for good cause shown, the
       government shall provide to the defendant:

       1.     Giglio Material. All material within the scope of United States v. Giglio,
              405 U.S. 150 (1972), including but not limited to the following:

              a.      The existence and substance of any payments, promises of
                      immunity, leniency, preferential treatment or other inducements
                      made to any witness who will be testifying;

              b.      The substance of substantially inconsistent statements that a
                      witness has made concerning issues material to guilt or
                      punishment;

              c.      Any criminal convictions of a witness or other instances of
                      misconduct, of which the government has knowledge and
                      which may be used to impeach a witness pursuant to Fed. R.
                      Evid. 608 and 609.




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               2.      Federal Rule of Evidence 404(b) Notice. The government shall advise the
                       defendant of its intention to introduce evidence in its case-in-chief at trial,
                       pursuant to Rule 404(b) of the Federal Rules of Evidence. This
                       requirement shall replace the defendant’s duty to demand such notice.

       E.      Continuing Duty to Disclose. If, prior to or during trial, a party discovers
               additional evidence or material required to be provided or disclosed pursuant to
               this Order, such party shall promptly notify opposing counsel of the existence of
               the additional evidence or material and provide access to the evidence or material
               for inspection and copying.

       F.      Discovery Motions. No attorney shall file a discovery motion or a request for a
               bill of particulars (except a motion pursuant to Fed. R. Crim. P. 16(d)(l)) without
               first conferring with opposing counsel, and no motion will be considered by the
               Court unless it is accompanied by a certification of such conference stating the
               date, time and place of the conference, and the names of all participating parties.

III.   MOTIONS

       Upon request of the defendant, motions are to be filed by

       Parties shall be advised that there will be no extensions except for extraordinary
       circumstances. In such an event, the United States Attorney and defense counsel are
       hereby notified that no continuances or extensions will be granted under the Speedy Trial
       Act unless a motion or stipulation is filed that recites the appropriate exclusionary
       provision of the Speedy Trial Act, 18 U.S.C. § 3161. In addition, the motion or
       stipulation must set forth the following:

       A.      The facts upon which the Court can make a finding that would warrant the
               granting of the relief requested; and

       B.      A statement that the defendant recognizes that any additional time granted will be
               excluded from computation under the Speedy Trial Act.

       Counsel must also submit a proposed order setting forth the time to be excluded and the
       basis for the exclusion. If the exclusion affects the trial date of the action, the stipulation
       or proposed order must have a space for the Court to enter a new trial date in accordance
       with the excludable time period. Requests for continuance or extension that do not
       comply with this Order will be disallowed by the Court.

       If no motions are filed following the motions filing deadline, a pretrial conference will be
       noticed before the Honorable




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IV.    EXPERT DISCLOSURES

       Within 7 days after the deadline for pretrial motions (if no motions are filed) or within 7
       days after the resolution of any filed pretrial motions, the Court will set a status
       conference for the parties to discuss trial issues. During the status conference, the Court
       will set deadlines for initial expert disclosures for experts the government or the
       defendant(s) intend to call in their cases-in-chief, as well as for rebuttal/responsive expert
       disclosures. Expert disclosures submitted by the parties shall comply with all other
       requirements of Fed. R. Crim. P. 16(a)(1)(G) and 16(b)(1)(C).

V.     SPEEDY-TRIAL REQUIREMENTS

       Pursuant to 18 U.S.C. § 3161(h)(7), the Court finds, based on consultation between the
       parties concerning the complexity of the case and the need for the defense to review
       discovery, that the ends of justice are best served by granting an extension of time and
       outweigh the best interests of the defendant and the public to a speedy trial. Denial of
       this extension of time would deprive counsel for the defendant and the attorney for the
       government the reasonable time necessary for the effective preparation of the case.

       It is FURTHER ORDERED that the period of delay resulting from this extension of time
       shall be excludable in computing the time in which the trial in this case must commence
       pursuant to the Speedy Trial Act and this District’s Plan for Prompt Disposition of
       Criminal Cases. The time to be excluded as directed above shall commence on the date
       of arraignment and continue through the motions filing deadline. THIS ORDER SHALL
       APPLY TO ALL CODEFENDANTS IN THIS CASE.

VI.    JURY-DRAW DATE

       This case should appear for jury draw on the next available trial calendar after the pretrial
       conference before the Honorable

VII.   SUBMISSIONS REQUIRED

       Within three days of the date fixed for trial, counsel for each party shall:

       A.     Exchange and file with the Court voir dire requests;

       B.     Exchange and file with the Court requests to charge, without prejudice to the
              parties’ right to submit additional requests at the conclusion of the taking of
              evidence, the need for which was not apparent prior to trial.

       C.     Make every effort to enter into stipulations of fact, including stipulations as to the
              admissibility of evidence, thereby limiting the matters which are required to be
              tried; and


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    D.     Exchange and file with the Court a proposed exhibit list (government to label
           exhibits numerically, e.g., Gov’t 1, 2, 3, etc.; defendant to label exhibits
           alphabetically, e.g., Deft A, B, C, etc.).

VIII. SENTENCING DISCOVERY

    On the day objections to the draft presentence report are to be submitted, the government
    and the defendant shall tum over:

    A.     The names and addresses of witnesses who have not previously been disclosed
           and who will be called at the sentencing hearing, including the names and
           addresses of experts. The defendant shall provide the dates of birth of such
           witnesses. The government shall provide the criminal records, if any, of such
           witnesses.

    B.     All information within the scope of Fed. R. Crim. P. 16(a) and (b) which has not
           previously been disclosed and which relates to issues to be raised at the
           sentencing hearing.

SO ORDERED.

     Dated at Burlington, in the District of Vermont, this


                                                   /s/ Kevin J Doyle
                                                   United States Magistrate Judge




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